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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Southern District
                                                   __________  DistrictofofNew York
                                                                            __________

                    Laurel Hilbert                                  )
           2039 New Hampshire Avenue, N.W.                          )
                Washington, DC 20009                                )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 7:24-cv-24-3114
                                                                    )
          FOUR SEASONS HOTELS LIMITED                               )
                 27 Barclay Street                                  )
                New York, NY 10007                                  )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) FOUR SEASONS HOTELS LIMITED

                                           SERVE:
                                           Corporation Service Company
                                           2 Sun Court, Suite 400
                                           Peachtree Corners, GA 30092


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Eric L. Siegel
                                           Eric Siegel Law PLLC
                                           888 17th Street, N.W., Suite 1200
                                           Washington, DC 20006
                                           Phone: 771-220-6116; Email: ESiegel@EricSiegelLaw.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date: 4/24/2024                                                                /s/ J. Gonzalez
                                                                                         Signature of Clerk or Deputy Clerk
